Case 2:22-cv-00047-GW-GJS Document 74-3 Filed 09/26/22 Page 1 of 13 Page ID #:969




                        Exhibit C
    Case 2:22-cv-00047-GW-GJS Document 74-3 Filed 09/26/22 Page 2 of 13 Page ID #:970
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Central District
                                                       __________         of of
                                                                   District  California
                                                                                __________
                     Skot Heckman, et al.
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 22-cv-00047-GW-GJS
           Live Nation Entertainment, Inc., et al.
                                                                              )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                                                      New Era ADR, Inc.
To:

                                                       (Name of person to whom this subpoena is directed)

      ✔
      ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Appendix A.



 Place:                                                                                 Date and Time:
          150 N Riverside Plaza Suite 4100, Chicago, IL 60606                                                07/14/2022 9:00 am

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        06/14/2022

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                      /s/ Albert Y. Pak
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)      Plaintiffs
                                                                        , who issues or requests this subpoena, are:
Albert Y. Pak,1100 Vermont Avenue, N.W., 12th Floor, Washington D.C., 20005, albert.pak@kellerpostman.com,
202-918-1835.
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
    Case 2:22-cv-00047-GW-GJS Document 74-3 Filed 09/26/22 Page 3 of 13 Page ID #:971
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 22-cv-00047-GW-GJS

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00    .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




         Print                         Save As...                  Add Attachment                                                             Reset
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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      Telephone: (202) 918-1123
   13
      Attorneys for Plaintiffs Skot Heckman,
   14 Luis Ponce, Jeanene Popp, and Jacob
      Roberts, on behalf of themselves and all
   15 those similarly situated
   16
                            UNITED STATES DISTRICT COURT
   17
                  CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   18
      Skot Heckman, Luis Ponce, Jeanene       CASE NO. 2:22-cv-00047-GW-GJ
   19 Popp, and Jacob Roberts, on behalf of
      themselves and all those similarly      PLAINTIFFS’ SUBPOENA TO
   20 situated,                               PRODUCE DOCUMENTS,
                                              INFORMATION OR OBJECTS IN
   21             Plaintiffs,                 A CIVIL ACTION TO NEW ERA
                                              ADR
   22        v.
                                              The Honorable George H. Wu
   23 Live Nation Entertainment, Inc., and
      Ticketmaster LLC,                       Jury Trial on Arbitration Issues
   24                                         Demanded
                  Defendants.
   25
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                                                               Case No. 2:22-cv-00047-GW-GJS
                                              PLAINTIFFS’ DOCUMENT SUBPOENA TO NEW ERA
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    1                                       APPENDIX A
    2                                      DEFINITIONS
    3         This subpoena is subject to and incorporates the following definitions and
    4 instructions as used herein:
    5         1.     The term “TICKETMASTER” shall refer to Ticketmaster LLC,
    6 including all of its parents, subsidiaries, affiliates, agents, and representatives.
    7         2.     The term “LIVE NATION” shall refer to Live Nation Entertainment,
    8 Inc., including all of its parents, subsidiaries, affiliates, agents, and representatives.
    9         3.     The term “LATHAM & WATKINS” means Latham & Watkins, LLP,
   10 including all of its agents and representatives.
   11         4.     The term “KELLER LENKNER” means the law firm Keller Lenkner
   12 LLC, and includes Keller Postman LLC (the firm’s current name).
   13         5.     The term “DEFENDANTS” shall refer to TICKETMASTER and LIVE
   14 NATION, or either of them.
   15         6.     The term “PERSON(S)” shall refer to any legal entity, including but
   16 not limited to natural persons, corporations, partnerships, firms, and/or associations,
   17 and any parent, subsidiary, division, department, or affiliate thereof.
   18         7.     The terms “NEW ERA ADR,” “YOU,” and “YOUR” shall refer to
   19 New Era ADR, Inc., including all of its parents, subsidiaries, affiliates, agents, and
   20 representatives.
   21         8.     The term “COMMUNICATION(S)” shall mean, without limitation,
   22 any transmittal, conveyance or exchange of a word, statement, fact, thing, idea,
   23 document, instruction, information, demand, question or other information by any
   24 medium, whether by written, oral or other means, including but not limited to
   25 electronic communications and electronic mail.
   26         9.     The term “DOCUMENT(S)” shall have the broadest meaning ascribed
   27 to them by the Federal Rules of Civil Procedure and shall include without limitation
   28 any written, recorded, graphic, or other matter, whether sent or received or made or

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    1 used internally, however produced or reproduced and whatever the medium on
    2 which it was produced or reproduced (whether on paper, cards, charts, files, or
    3 printouts; tapes, discs, belts, video tapes, audiotapes, tape recordings, cassettes, or
    4 other types of voice recording or transcription; computer tapes, databases, e-mails;
    5 pictures, photographs, slides, films, microfilms, motion pictures; or any other
    6 medium), and any other tangible item or thing of readable, recorded, or visual
    7 material of whatever nature including without limitation originals, drafts, electronic
    8 documents with included metadata, and all non-identical copies of each document
    9 (which, by reason of any variation, such as the presence or absence of hand-written
   10 notes or underlining, represents a separate document within the meaning of this
   11 term). The foregoing specifically includes information stored electronically,
   12 whether in a computer database or otherwise, regardless of whether such documents
   13 are presently in documentary form or not. The term DOCUMENT(S) shall include
   14 COMMUNICATIONS.
   15          10.   The terms “RELATING TO,” “RELATED TO,” “REFERRING TO,”
   16 “REFER OR RELATE TO,” or “REGARDING” shall mean concerning,
   17 mentioning, reflecting, pertaining to, evidencing, identifying, incorporating,
   18 summarizing, involving, describing, discussing, commenting on, embodying,
   19 responding to, supporting, contradicting, containing, or constituting (in whole or in
   20 part).
   21          11.   The present tense includes the past and future tenses. The singular
   22 includes the plural, and the plural includes the singular. “Including” means
   23 “including but not limited to.” The terms “any,” “all,” “each,” “every,” “and,” “or,”
   24 and “and/or” as used herein shall be construed as appropriate to bring within the
   25 scope of these requests information and DOCUMENTS which might otherwise be
   26 interpreted to be beyond their scope. Words in the masculine, feminine or neuter
   27 form shall include each of the other genders.
   28

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    1                                     INSTRUCTIONS
    2         1.      YOU are required to produce all non-privileged DOCUMENTS in
    3 YOUR possession, custody, or control, including information in the possession,
    4 custody, or control of any of YOUR attorneys, directors, officers, agents,
    5 employees, representatives, associates, investigators or division affiliates,
    6 partnerships, parents or subsidiaries, and PERSONS under YOUR control.
    7         2.      Each DOCUMENT is to be produced along with all non-identical
    8 versions thereof in their entirety, without abbreviation or redaction.
    9         3.      All DOCUMENTS shall be produced in the order that they are kept in
   10 the usual course of business, and shall be produced in their original folders, binders,
   11 covers or containers, or photocopies thereof.
   12         4.      All DOCUMENTS that respond, in whole or in part, to any portion of
   13 any request shall be produced in their entirety, including all attachments and
   14 enclosures.
   15         5.      Color copies of DOCUMENTS are to be produced where color is
   16 necessary to interpret or understand the contents.
   17         6.      The source(s) or derivation of each DOCUMENT produced shall be
   18 specifically identified.
   19         7.      Electronic records and computerized information must be produced in
   20 their native electronic format, together with a description of the system from which
   21 they were derived sufficient to permit rendering the records and information
   22 intelligible.
   23         8.      Unless otherwise indicated in a particular request, the request is limited
   24 in time from 2019 through the present.
   25         9.      In the event that any DOCUMENT called for by the following
   26 Requests is to be withheld on the basis of a claim of privilege or immunity from
   27 discovery, that DOCUMENT is to be identified by stating (i) the author(s),
   28 addressee(s) and any indicated or blind copy(s); (ii) the DOCUMENT’S date,

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                                                      PLAINTIFFS’ DOCUMENT SUBPOENA TO NEW ERA
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    1 number of pages and attachments or appendices; (iii) the subject matter(s) of the
    2 DOCUMENT; (iv) the nature of the privilege or immunity asserted; and (v) any
    3 additional facts upon which YOU would base YOUR claim of privilege or
    4 immunity.
    5        10.    In the event that any DOCUMENT called for by these requests or
    6 subsequent requests has been destroyed or discarded, that DOCUMENT is to be
    7 identified by stating: (i) the author(s), addressee(s) and any indicated or blind
    8 copy(s); (ii) the DOCUMENT’S date, number of pages and attachments or
    9 appendices; (iii) the DOCUMENT’S subject matter; (iv) the date of destruction or
   10 discard, manner of destruction or discard, and reason for destruction or discard;
   11 (v) the PERSONS who were authorized to carry out such destruction or discard; and
   12 (vi) whether any copies of the DOCUMENT presently exist and, if so, the name of
   13 the custodian of each copy.
   14                          REQUESTS FOR PRODUCTION
   15 REQUEST FOR PRODUCTION NO. 1.:
   16        All of YOUR COMMUNICATIONS with DEFENDANTS and/or LATHAM
   17 & WATKINS, including all of YOUR COMMUNICATIONS with DEFENDANTS
   18 and/or LATHAM & WATKINS about YOUR Rules and Procedures, YOUR Terms
   19 and Conditions, and the terms of YOUR subscription agreements with
   20 DEFENDANTS.
   21 REQUEST FOR PRODUCTION NO. 2.:
   22        All of YOUR contracts with DEFENDANTS, including all of
   23 DEFENDANTS’ subscription agreements with YOU.
   24 REQUEST FOR PRODUCTION NO. 3.:
   25        DOCUMENTS sufficient to show the dates and amounts of each and every
   26 payment to YOU from DEFENDANTS and/or LATHAM & WATKINS.
   27 REQUEST FOR PRODUCTION NO. 4.:
   28        All drafts of YOUR Rules and Procedures.

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     1 REQUEST FOR PRODUCTION NO. 5.:
     2        All drafts of YOUR Terms and Conditions.
     3 REQUEST FOR PRODUCTION NO. 6.:
     4        All DOCUMENTS used to advertise NEW ERA ADR.
     5 REQUEST FOR PRODUCTION NO. 7.:
     6        All DOCUMENTS used in connection with YOUR efforts to raise capital,
     7 including the efforts that led to investments from Alumni Ventures Group, Motivate
     8 Venture Capital, Purple Arch Ventures, Nextview Ventures, Jump Capital, David
     9 Kalt, Sean Chou, Pete Kadens, and/or Lon Chow.
   10 REQUEST FOR PRODUCTION NO. 8.:
   11         All subscription agreements YOU have entered into, with DEFENDANTS or
   12 otherwise.
   13 REQUEST FOR PRODUCTION NO. 9.:
   14         DOCUMENTS sufficient to show the information required to be published by
   15 YOU under California Code of Civil Procedure 1281.96, Maryland Commercial
   16 Law §§ 14-3901 to 3905, and/or New Jersey Statutes § 2A:23B-1 et seq.
   17 REQUEST FOR PRODUCTION NO. 10.:
   18         All DOCUMENTS that REFER OR RELATE TO mass arbitration, KELLER
   19 LENKNER, YOUR Rules and Procedures, YOUR Terms and Conditions, YOUR e-
   20 arbitration process, YOUR subscription agreements with DEFENDANTS, and
   21 YOUR subscription agreements with anyone other than DEFENDANTS.
   22 REQUEST FOR PRODUCTION NO. 11.:
   23         DOCUMENTS sufficient to show the number of arbitrators who YOU
   24 approved to serve as arbitrators in arbitrations YOU administer, including all of
   25 YOUR contracts with those arbitrators.
   26 REQUEST FOR PRODUCTION NO. 12.:
   27         DOCUMENTS sufficient to show the equity stakes in YOU of all arbitrators
   28 who YOU approved to serve as arbitrators in arbitrations YOU administer.

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                                                   PLAINTIFFS’ DOCUMENT SUBPOENA TO NEW ERA
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     1 REQUEST FOR PRODUCTION NO. 13.:
     2        DOCUMENTS sufficient to show YOUR business plans for NEW ERA
     3 ADR.
     4 REQUEST FOR PRODUCTION NO. 14.:
     5        DOCUMENTS sufficient to show the amounts paid by any entity or person,
     6 by each such entity or person, to YOU.
     7 REQUEST FOR PRODUCTION NO. 15.:
     8        DOCUMENTS sufficient to show the amounts paid by YOU to any entity or
     9 person, by each such entity or person.
   10 REQUEST FOR PRODUCTION NO. 16.:
   11         DOCUMENTS sufficient to show the number of consumer arbitrations that
   12 YOU have administered, as well as the manner in which YOU have administered
   13 them.
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                                                  PLAINTIFFS’ DOCUMENT SUBPOENA TO NEW ERA
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     1
         DATED: June 14, 2022            QUINN EMANUEL URQUHART &
     2                                   SULLIVAN, LLP
     3
                                          By /s/ Adam B. Wolfson
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                                            Telephone: (213) 443-3000
   10                                       Facsimile: (213) 443-3100
   11                                       Attorneys for Plaintiffs Skot Heckman,
   12                                       Luis Ponce, Jeanene Popp, and Jacob
                                            Roberts, on behalf of themselves and all
   13                                       those similarly situated
   14
   15                                     KELLER POSTMAN LLC
   16                                     By /s/ Warren D. Postman
   17                                       Warren D. Postman (Bar No. 33069)
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   18
                                            Albert Y. Pak (admitted pro hac vice)
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   22
                                            Attorneys for Plaintiffs Skot Heckman,
   23                                       Luis Ponce, Jeanene Popp, and Jacob
   24                                       Roberts, on behalf of themselves and all
                                            those similarly situated
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                                               PLAINTIFFS’ DOCUMENT SUBPOENA TO NEW ERA
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     1                          CERTIFICATE OF SERVICE
     2        I hereby certify that on June 14, 2022, a copy of PLAINTIFFS’ SUBPOENA
     3 TO PRODUCE DOCUMENTS, INFORMATION OR OBJECTS IN A CIVIL
     4 ACTION TO NEW ERA ADR was served via electronic mail to counsel for
     5 Defendants.
     6
         DATED: June 14, 2022           KELLER POSTMAN LLC
     7
     8
     9                                    By /s/ Albert Y. Pak
   10                                       Attorney for Plaintiffs
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                                                                 Case No. 2:22-cv-00047-GW-GJS
                                                                    CERTIFICATE OF SERVICE
